 Case: 1:15-cv-10950 Document #: 24 Filed: 09/15/16 Page 1 of 2 PageID #:84




                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION



                                               )
Sheena Medrano                                 )
                                               )      Case No. 1:15-cv-10950
                                               )
        Plaintiff,                             )
                                               )
v.                                             )
                                               )
                                               )
Account Discovery Systems                      )
                                               )
                                               )
                                               )
                                               )
                                               )      NOTICE OF DISMISSAL
                                               )        WITH PREJUDICE
                                               )
                         Defendant.            )

        Now comes Plaintiff, by and through counsel, pursuant to Federal Rule of Civil

Procedure 41(a), and hereby dismisses the present with prejudice. This notice is being filed

before Defendant has served an answer and therefore is appropriate for dismissal absent

stipulation by all parties.


                                               RESPECTFULLY SUBMITTED,

                                               Suburban Legal Group, PC


                                               By: /s/ John P. Carlin
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 Case: 1:15-cv-10950 Document #: 24 Filed: 09/15/16 Page 2 of 2 PageID #:85




                                    CERTIFICATE OF SERVICE

          I hereby certify that, on September 15, 2016, a copy of the foregoing Notice was

filed electronically. Notice of this filing will be sent by operation of the Court’s

electronic filing system to all parties indicated on the electronic filing receipt. The

following party was served via regular U.S. Mail:




                                               /s/ John P. Carlin




Brendan H. Little
Partner




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